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AO 245B (CASDRev. 081l3) Judgment in a Criminal Case

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                                        UNITED STATES DISTRICT COD;RT
                                             SOUTHERN DISTRICT OF CALIFORNIA )
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE                               111
                                   V.                                (For Offenses Committed On or After November 1, 1987)
                AMANDA LEE GARCIA (2)
                                                                        Case Number:         15CR0902-JLS

                                                                     Federal Defenders, Inc., b~: Nathan Feneis
                                                                     Defendant's Attorney
REGISTRATION NO.                   49599298


~    pleaded guilty to count( s)          1 of the Superseding Information

    was found guilty on count( s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s}, which involve the following offense(s):
                                                                                                                              Count
Title & Section                     Nature of Offense                                                                        Number(s)
18 USC 3 and 18 USC                 Accessory after the fact to interference with commerce by robbery                           1
1951




     The defendant is sentenced as provided in pages 2 through                  5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D   The defendant has been found not guilty on count(s)

 ~   Count(s)    (Underlying Indictment)                        is           dismissed on the motion of the United States.

 ~   Assessment: $100.00 imposed



 ~   No fine                            Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     December 4. 2015
                                                                     Date ofImposition of Sentbnce



                                                                       ON. JANIS L. SAMMARTINO
                                                                          !TED STATES DISTRICT JUDGE




                                                                                                                             15CR0902-JLS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Twelve (12) months and one (1) day




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:

        Incarceration in the Southwest Region of the United States




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at _ _ _ _ _ _ _ A.M.                           on
        []    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 fZl
        Prisons:
        fZl   on or before January 8, 2016 before 12:00 PM.
        o     as notified by the United States MarshaL
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to ------------------------------
 at                                       , with a certified copy of this judgment.
       ------------------------

                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         15CR0902·JLS
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o          substance abuse. (Check, ifapplicable.)
~          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
~
           Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
[]         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
o          The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
          observed in plain view of the probation officer;
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
           with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION

Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition ofrelease; failure to submit to a search may be grounds for revocation; the defendant shall
warn any other residents that the premises may be subject to searches pursuant to this condition.

Report vehicles owned or operated, or in which you have an interest, to the probation officer.

Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
counseling, as directed by the probation officer. Allow for reciprocal release ofinformation between the probation
officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount
to be determined by the probation officer, based on ability to pay.

Provide complete disclosure of personal and business financial records to the probation officer as requested.




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                                            RESTITUTION

The defendant shall pay restitution in the amount of $100.00                     through the Clerk, U.S. District
Court. Payment of restitution shall be forthwith. During any period of incarceration the defendant shall pay
restitution through the Inmate Financial Responsibility Program at the rate of 50% of the defendant's income,
or $25.00 per quarter, whichever is greater. The defendant shall pay the restitution during her supervised
release at the rate of the $50.00 per month. These payment schedules do not foreclose the United States from
exercising all legal actions, remedies, and process available to it to collect the restitution judgment.

Restitution is to be paid to the following victims and distribution is to be made on a pro rata basis.

Until restitution has been paid, the defendant shall notifY the Clerk ofthe Court and the United States
Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
after the change occurs.

Victim
U.S. Postal Service
Rancho Bernardo Post Office
16767 Bernardo Center Drive
Suite Ll
San Diego, CA 92128
Amount: $1,377




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